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5
                              UNITED STATES DISTRICT COURT
6
                             EASTERN DISTRICT OF CALIFORNIA
7

8

9    UNITED STATES OF AMERICA,                 No.     2:15-cr-00039-GEB

10                   Plaintiff,

11        v.

12   EMILIO LARA,

13                   Defendant.

14
                Trial        in   the    above-captioned      case,    scheduled    to
15
     commence at 9:00 a.m. on March 20, 2018, was confirmed at the
16
     hearing held on February 2, 2018.
17
                                  EVIDENTIARY DISPUTES
18
                All evidentiary disputes capable of being resolved by
19
     in limine motions shall be filed no later than February 23, 2018.
20
     Oppositions to the motions or statements of non-opposition shall
21
     be filed no later than March 2, 2018.                Hearing on any in limine
22
     motion is scheduled to commence at 9:00 a.m. on March 16, 2018.
23
                Any     reasonably       anticipated      dispute     concerning   the
24
     admissibility of evidence that is not briefed in an in limine
25
     motion shall be included in trial briefs.
26
                                      TRIAL PREPARATION
27
                A.      No    later     than   March    13,   2018,    the   following
28
                                               1
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1    documents shall be filed:

2                        (1)     proposed    jury      instructions       and    a   proposed

3    verdict form (and the Courtroom Deputy Clerk shall be emailed a

4    word version of the documents);

5                        (2)     proposed voir dire questions to be asked by

6    the Court;

7                        (3)     trial briefs;1 and

8                        (4)     a      document           containing      a      sufficient

9    explanation of the particular factual situation involved in the

10   trial so that we can ascertain whether a potential juror can be a

11   fair and impartial juror in this case.

12                 B.    The government’s exhibits shall be numbered with

13   stickers.       Should the defendant elect to introduce exhibits at

14   trial, such exhibits shall be designated by alphabetical letter

15   with stickers.       The parties may obtain exhibit stickers from the

16   Clerk’s Office.        The government shall file an exhibit list and a

17   witness list as soon as practicable.

18                 C.    The jury will be told that it is estimated that it

19   will take nine (9) court days to present evidence to the jury and

20   to     complete    closing      arguments.        Each      party   has     twenty    (20)
21   minutes      for   voir    dire,    which       may    be   used    after    the     judge

22   completes judicial voir dire (unless the judge decides to conduct

23   all voir dire).           Two (2) alternate jurors will be empaneled, if

24   feasible.

25                 The “struck jury” system will be used to select the

26   1
       To ensure that the trial proceeds at a reasonable pace, the government is
     required to include in its trial brief a summary of points of law, including
27   reasonably anticipated disputes concerning admissibility of evidence, legal
     arguments, and citations of authority in support thereof. The defense is also
28   encouraged to do this to the extent it opines it should.
                                                 2
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1    jury unless this case is reassigned and the reassigned judge

2    elects    to    use    another   system.        The    struck    jury    system     is

3    “designed to allow both the prosecution and the defense a maximum

4    number of peremptory challenges.              The venire . . . start[s] with

5    about    3[6]    potential     jurors,   from      which   the   defense    and    the

6    prosecution alternate[] with strikes until a petite panel of 12

7    jurors remain[s].”           Powers v Ohio, 499 U.S. 400, 404-05 (1991);

8    see also United States v. Esparza-Gonzalez, 422 F.3d 897, 899

9    (9th Cir. 2005) (discussing “the ‘struck jury’ system to select

10   jurors”).

11                  The    Jury   Administrator      randomly     selects       potential

12   jurors and places their names on a list that will be provided to

13   each party in the numerical sequence in which they were randomly

14   selected.        Each potential juror will be placed in his or her

15   randomly-selected seat.          The first 12 randomly selected potential

16   jurors on the list will constitute the petit jury unless one or

17   more of those 12 is excused.                 Assuming that the first listed

18   potential juror is excused, the thirteenth listed potential juror

19   becomes one of the twelve jurors that could be empaneled as the

20   petit jury.
21                  The Courtroom Deputy Clerk gives each potential juror a

22   large    laminated      card   depicting     the    numerical    order     that    the

23   potential juror was randomly selected.

24                  Following the voir dire questioning, each side take

25   turns    exercising      peremptory   challenges.          The   parties    will    be

26   given a sheet of paper (“strike sheet”) that will be used to
27   silently exercise peremptory challenges in the manner specified

28   on the strike sheet.             If a party elects to pass rather than
                                              3
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1    exercise a particular peremptory challenge, the word “pass” shall

2    be     placed      on    the    strike     sheet       for    that     waived      peremptory

3    challenge and that challenge is waived for the then-constituted

4    jury panel.         See generally, United States v. Yepiz, 685 F.3d 840,

5    845-46 (9th Cir. 2012) (indicating “‘use it or lose it’ voir dire

6    [waiver]      practice”         is    authorized       if    “the    composition      of     the

7    panel” does not change).

8                  The       parties       requested    that      the    alternate      jurors     be

9    retained      after      the    jury     retires       to   deliberate,      and     that    the

10   alternate jurors would then no longer be required to appear in

11   court unless directed to appear by the Courtroom Deputy.

12                 D.        If any party desires training on the court’s audio

13   visual      equipment          that     party     should      contact       Richard       Arendt

14   (rarendt@caed.uscourts.gov)                 in     the       IT     Department       to     make

15   arrangements        for     training.            The    courtroom      is    available       for

16   training Monday through Thursday between 8:00 and 8:30 a.m.                                   If

17   training is not needed and a party wants to test the equipment,

18   this can be done on the morning of trial between 8:00 and 8:30

19   a.m.

20                 E.        Each    party    has     twenty      (20)    minutes    to    make    an
21   opening statement.

22                 F.        After closing jury instructions, the judge intends

23   to communicate the following with the Court Security Officer and

24   the jury:

25                      The Courtroom Deputy shall administer
                   the oath to the United States Court Security
26                 Officer.
27                      Sir, the jury may take a break and/or
                   break for a meal, without consulting me; the
28                 breaks are under your general supervision.
                                        4
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1               If the jury adjourns for lunch, a Court
                Security Officer shall immediately tell the
2               Courtroom Deputy so that my staff, the
                lawyers, the parties, and I can be relieved
3               from standby status while the jury adjourns
                deliberations.
4
                     Should the jury adjourn later today,
5               jurors are permitted tomorrow to proceed
                directly to the jury deliberation room, but
6               jurors are to wait until all jurors are
                present before resuming deliberations because
7               all jurors must be present when the jury
                deliberates. Jury deliberations shall occur,
8               as needed, until 4:30 p.m. when the jury
                shall adjourn for the evening; and the jury
9               shall resume deliberations the next day
                commencing at 9:00 a.m.
10
                     A Court Security Officer will maintain a
11              post outside the jury deliberation room to
                protect the jury from outside influences or
12              visitors.   The Court Security Officer will
                not communicate with a juror about the case
13              or    the   court    system   because    such
                conversations could be misconstrued as a
14              communication that seeks to influence a
                juror. What I just said does not apply to a
15              note that a juror and/or the jury gives to
                the Court Security Officer, because a juror
16              and/or the jury is required to inform the
                Court Security Officer that a note needs to
17              be given to the judge.

18                    Each juror may continue possessing his
                or her cell phone or other communication
19              device, but that device shall be turned off
                when the jury is engaged in deliberation.
20              The Court Security Officer shall escort the
                jurors to the jury deliberation room.
21
                G.    Further the Court intends to tell the alternate
22
     jurors what follows:
23
                     Under federal law, an alternate juror
24              can only go into the jury deliberation room
                if the alternate juror replaces a juror.
25              Therefore, you may leave the courthouse now
                and do what you normally do when you are not
26              on a jury.    However, you are still bound by
                the   admonitions    I  gave   in   the   jury
27              instructions,    since  you   may   eventually
                replace one of the deliberating jurors.     If
28              you are needed to replace a juror, the
                                          5
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1               Courtroom Deputy will tell you to appear in
                this courtroom. Provide the Courtroom Deputy
2               with your contact information before you
                leave the courtroom.       If the trial is
3               resolved, the Courtroom Deputy will inform
                you that you are discharged from further
4               service on this case and you are released
                from the admonitions, including the directive
5               that you not talk to others about this case.
                In the event I do not see you again, thank
6               you for your service on this case.

7               Any objection to or proposed modification to either or

8    both communications in sections F and G shall be filed no later

9    than five (5) days after this order is filed.

10              Lastly,   the   parties   shall   endeavor    to   assemble   the

11   exhibits before the jury retires for deliberation.

12   Dated:   February 2, 2018

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